             Case 2:25-cr-00138-JS                   Document 11       Filed 04/25/25              Page 1 of 7 PageID #: 46
Criminal Proceeding Minute Entry (rev. 4/25 (elr))                                                                                   Page 1 of 7


                                                UNITED STATES DISTRICT COURT
                                                       Eastern District of New York
           UNITED STATES OF AMERICA                                    Presiding Judge: ______________________________________
                                                                                        Joanna Seybert, Senior U.S.D.J.
                         -v-                                           Case No(s).:     ______________________________________
                                                                                        25-cr-0138-JS-LGD
      ______________________________________
                Faustin Nsabumukunzi                                   Date:            ____________
                                                                                        4/25/2025
                                                                       Start Time:      ____________
                                                                                        12:30 PM     Total Time: _______________
                                                                                                                 5 mins.

                                               MINUTE ENTRY FOR A CRIMINAL PROCEEDING

                                                     SEALED PROCEEDING: ☐ Yes ☐
                                                                              ✔No

I. APPEARANCES:

Defendant (# ____
              1 ): ________________________________________
                   Faustin Nsabumukunzi                                Counsel: ___________________________________________________
                                                                                Evan Sugar
☐
✔Present ☐✔Not Present ☐ In Custody ☐ On Bond ☐ Surrendered            ☐ Retained ☐✔Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________          Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered           ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Government:           _________________________________________
                      Samantha Alessi                                  Interpreter(s):     ___________________________________________
                      _________________________________________        Language:           ____________________
Pretrial Services:    _________________________________________        Court Reporter(s): ___________________________________________
                                                                                          Lisa Schmid
Probation Dept.:      _________________________________________                            ___________________________________________
Other Appearances:_________________________________________            FTR Time(s):        ___________________________________________
                      _________________________________________        Courtroom Deputy: ___________________________________________
                                                                                         Eric L. Russo
                      _________________________________________

II. PROCEEDINGS HELD:

☐
✔In-Person                 ☐ Arraignment (see pg. 2)            ☐ Initial Appearance (see pg. 2)       ☐ Plea Hearing (see pg. 4)
☐ By Telephone             ☐
                           ✔Bond Hearing (see pg. 5)            ☐ Jury Deliberation (see pg. 3)        ☐ Pre-Trial Conference (see pg. 2)
☐ By Video                 ☐ Curcio Hearing (see pg. 3)         ☐ Jury Selection (see pg. 3)           ☐ Resentencing (see pg. 4)
                           ☐ Detention Hearing (see pg. 5)      ☐ Jury Trial (see pg. 3)               ☐ Sentencing (see pg. 4)
                           ☐ Evidentiary Hearing (see pg. 2)    ☐ Motion Hearing (see pg. 2)           ☐ Status Conference (see pg. 2)
                           ☐ Fatico Hearing (see pg. 2)

☐ Other Proceeding: ________________________________________
             Case 2:25-cr-00138-JS                   Document 11         Filed 04/25/25           Page 2 of 7 PageID #: 47
Criminal Proceeding Minute Entry (rev. 4/25 (elr))                                                                                      Page 2 of 7


III. SUMMARY OF THE PROCEEDINGS:

☐ ____________________ held as to ________________________________________________________________________________.
  ☐ This was an initial appearance before this Court by Defendant ____________.
  ☐ Defendant ____________ waived Indictment.
     ☐ Waiver of Indictment executed by Defendant ____________.
  ☐ Defendant ____________ waived the public reading of the charging instrument.
  ☐ Defendant ____________ was advised of, and acknowledged, the charges outlined in the charging instrument.
  ☐ The Government was advised of, and acknowledged, its obligation under F.R.Cr.P. Rule 5(f) and the Due Process Protections Act.
     ☐ A written order will be entered fully describing this obligation and the possible consequences of failing to meet it.
  ☐ Defendant ____________ entered a plea of NOT GUILTY as to all counts of the charging instrument.
  ☐ The parties advised the Court of the status of the case.
  ☐ Defendant ____________ consented to the exclusion of Speedy Trial time from ____________ to ____________ pursuant to
     Title 18, United States Code, Section 3161                                                                                                .
  ☐ Defendant ____________ did not consent to the exclusion of Speedy Trial time.
  ☐ The Court ordered the exclusion of Speedy Trial time from ____________ to ____________ pursuant to
     Title 18, United States Code, Section 3161                                                                                                .
  ☐ The Court deemed, or previously deemed, this case COMPLEX and Speedy Trial time was excluded pursuant to
     Title 18, United States Code, Section 3161(h)(7)(B)(ii).
  ☐ The Court deemed, or previously deemed, this case TRIAL READY.
     ☐ The Court set the following pre-trial submission schedule:
         ☐ The Government shall turn over all 3500 material and 404(b) evidence to the defendant(s) by: ____________
         ☐ Motion(s) in Limine and all supporting papers shall be filed by:                                  ____________
         ☐ Opposition(s) to Motions in Limine and all supporting papers shall be filed by:                   ____________
         ☐ Reply(ies) to Motions in Limine and all supporting papers shall be filed by:                      ____________
         ☐ Proposed voir dire questions and a brief case summary shall be filed by:                          ____________
         ☐ Proposed exhibits and a witness list shall be filed by:                                           ____________
         ☐ Proposed jury charge and verdict sheet shall be filed by:                                         ____________
         ☐ The Court will not grant any extensions of the deadlines set forth above.
         ☐ The parties are directed to submit courtesy copies of their submissions in accordance with the Court’s Individual Rules (see Rule IV).
         ☐ The parties are directed to e-mail copies of the proposed case summary, voir dire questions, witness list, jury charge, and verdict
             sheets in Word format to the Chambers e-mail at “Seybert_Chambers@nyed.uscourts.gov”.
     ☐ The parties were directed to file a proposed pre-trial submission schedule on or before ____________.
     ☐ The Court will enter a separate order outlining the pre-trial submission schedule.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ ____________ Hearing held.
  ☐ Hearing held regarding ______________________________________________________________________________________.
  ☐ The parties presented their oral arguments to the Court.
  ☐ Witness(es) were called for the: ☐ Government; ☐ defendant(s).
  ☐ Exhibits were entered into evidence.
  ☐ The following briefing schedule was set:
     ☐ _______________ shall file and serve the motion and all supporting papers by:                            ____________
     ☐ _______________ shall file and serve the opposition to the motion and all supporting papers by:          ____________
     ☐ _______________ shall file and serve the cross-motion and all supporting papers by:                      ____________
     ☐ _______________ shall file and serve the reply and all supporting papers by:                             ____________
     ☐ _______________ shall file and serve the opposition to the cross motion and all supporting papers by: ____________
     ☐ _______________ shall file and serve the reply to the cross motion and all supporting papers by:         ____________
     ☐ The Court will not grant any extensions of the deadlines set forth above.
     ☐ The parties are directed to submit courtesy copies of their submissions in accordance with the Court’s Individual Rules (see Rule IV).
  ☐ The parties were directed to file a proposed briefing schedule on or before ____________.
  ☐ The Court will enter a separate order outlining the briefing schedule.
  ☐ The Court made the following ruling(s):
     ☐ GRANTED, as to:                    ____________________________________________________________________________________.
     ☐ DENIED, as to:                     ____________________________________________________________________________________.
     ☐ GRANTED, in part, as to:           ____________________________________________________________________________________.
     ☐ Decision RESERVED, as to: ____________________________________________________________________________________.
  ☐ The Court’s decision: ☐ was entered on the record; ☐ will be entered under a separate order.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.
             Case 2:25-cr-00138-JS                   Document 11          Filed 04/25/25           Page 3 of 7 PageID #: 48
Criminal Proceeding Minute Entry (rev. 4/25 (elr))                                                                                 Page 3 of 7


☐ Curcio Hearing held as to Defendant ____________.
  ☐ Attorney _________________________ (☐ Federal Defender ☐ CJA) was appointed to represent the defendant for purposes of this hearing.
  ☐ The parties presented their oral arguments to the Court.
  ☐ The defendant was informed of the potential dangers arising from any conflicts of interest with current defense counsel.
  ☐ The defendant acknowledged and waived any potential conflicts of interest and wishes to proceed with current defense counsel.
  ☐ The defendant requested that current counsel be relieved and:
     ☐ that the defendant will retain new counsel.
         ☐ The defendant must retain new counsel: ☐ by ____________; ☐ within ____________________ of this hearing.
     ☐ that the Court appoint new counsel.
         ☐ The defendant completed and filed the CJA 23 Financial Affidavit for the Court’s review.
  ☐ The Court’s decision: ☐ was RESERVED; ☐ was entered on the record; ☐ will be entered under a separate order.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Selection/Voir Dire held.
  ☐ The Court ordered the jury to be: ☐ anonymous; ☐ sequestered; ☐ semi-sequestered; ☐ ____________________.
  ☐ The prospective jurors were sworn and given preliminary instructions by the Court.
  ☐ The prospective jurors were asked questions touching upon their qualifications to serve as jurors.
  ☐ A jury of ________, with ________ alternates, were selected and are satisfactory to all parties.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Trial held.
  ☐ A jury of ________, with ________ alternates, previously selected by ______________________________, are satisfactory to all parties.
  ☐ The selected jurors were sworn as trial jurors.
  ☐ The jurors were given preliminary instructions by the Court.
  ☐ Opening statements were heard from the: ☐ Government; ☐ Defense Counsel.
  ☐ Witness(es) were called for the: ☐ Government; ☐ defendant(s).
  ☐ Exhibit(s) were entered into evidence.
  ☐ The Government rested its case.
  ☐ The defense rested its case.
  ☐ A Charge Conference was held with the Court and counsel.
  ☐ Summations were heard from the: ☐ Government; ☐ Defense Counsel; ☐ Government (Rebuttal).
  ☐ The Court charged the jury.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Deliberation held.
  ☐ The U.S. Marshal/Court Security Officer was sworn to monitor the jurors during deliberations.
  ☐ Jury Notes were received and marked as Court Exhibits.
  ☐ The Court instructed the jury to continue their deliberations pursuant to Allen v. United States (Allen Charge).
  ☐ The jury rendered the following verdict:
      ☐ _______________ on Count(s): _________________________ as to Defendant ____________.
      ☐ _______________ on Count(s): _________________________ as to Defendant ____________.
      ☐ _______________ on Count(s): _________________________ as to Defendant ____________.
      ☐ _______________ on Count(s): _________________________ as to Defendant ____________.
  ☐ The jurors were polled as to their verdict.
  ☐ The Verdict Sheet was received and marked as a Court Exhibit.
  ☐ The Court charged the jury on the forfeiture allegation count(s) and instructed them to continue their deliberations.
      ☐ Jury Notes were received and marked as Court Exhibits.
      ☐ The jury rendered their verdict regarding the forfeiture allegation count(s).
      ☐ The jurors were polled as to their verdict.
      ☐ The Special Verdict Sheet was received and marked as a Court Exhibit.
  ☐ The jurors, including alternates, were excused with the thanks of the Court.
  ☐ The Conviction Notification Form was executed and sent to the U.S. Probation Department.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.
             Case 2:25-cr-00138-JS                   Document 11    Filed 04/25/25          Page 4 of 7 PageID #: 49
Criminal Proceeding Minute Entry (rev. 4/25 (elr))                                                                              Page 4 of 7


☐ Plea Hearing held as to count(s) _______________ of the __________-count _____________________________________________________.
  ☐ The Court’s Standard Plea Form was executed by the parties.
  ☐ The defendant was advised of, and acknowledged, the constitutional rights that will be waived when entering a plea of guilty.
  ☐ The defendant withdrew previously entered not guilty plea and entered a plea of GUILTY to the above referenced count(s).
  ☐ The Court found that the there is a factual basis for the guilty plea and ACCEPTED the defendant’s plea of guilty.
  ☐ An Order of Forfeiture was executed.
  ☐ The Court ordered the U.S. Probation Department to prepare and submit an EXPEDITED Presentence Investigation Report.
  ☐ The parties consented to hold the preparation of the Presentence Investigation Report in ABEYANCE.
  ☐ The Conviction Notification Form was executed and sent to the U.S. Probation Department.
  ☐ The parties WAIVED the preparation of the Presentence Investigation Report.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ ___________ held as to count(s) _______________ of the __________-count _____________________________________________________.
  ☐ The parties advised the Court that there are no objections or corrections to the Presentence Investigation Report.
  ☐ Objections/Corrections to the Presentence Investigation Report were outlined on the record by: ☐ Defense Counsel; ☐ the Government.
  ☐ The Court adopted the Presentence Investigation Report without change.
  ☐ Changes to the Presentence Investigation Report were made by the Court as stated on the record.
  ☐ Oral presentations to the Court were made by: ☐ Defense Counsel; ☐ the defendant; ☐ the Government.
     ☐ Additional presentations were made to the Court by: ☐ the victim(s); ☐ ____________________; ☐ ____________________.
  ☐ The defendant was sentenced to IMPRISONMENT for a total term of:
     ☐ TIME SERVED. The post-sentencing report form was executed and sent to the U.S. Probation Department.
     ☐ _______________________________________________________.
     ☐ Upon release, the defendant shall be on SUPERVISED RELEASE for a total term of ____________________.
        ☐ The defendant shall comply with the mandatory and standard conditions of supervision.
            ☐ One or more of the mandatory/standard conditions of supervision were not ordered or were amended by the Court.
        ☐ The defendant shall comply with the special conditions of supervision ordered by the Court.
     ☐ The Court did not impose a term of Supervised Release.
  ☐ The defendant was sentenced to PROBATION for a total term of ____________________.
     ☐ The defendant shall comply with the mandatory and standard conditions of supervision.
        ☐ One or more of the mandatory/standard conditions of supervision were not ordered or were amended by the Court.
     ☐ The defendant shall comply with the special conditions of supervision ordered by the Court.
  ☐ The defendant must pay the following criminal monetary penalties:
     ☐ RESTITUTION in the amount of:                             $ ____________________
        ☐ An Order of Restitution was executed.
     ☐ A FINE in the amount of:                                  $ ____________________
     ☐ A SPECIAL ASSESSMENT fine in the amount of:               $ ____________________
     ☐ An AVAA ASSESSMENT fine in the amount of:                 $ ____________________
     ☐ A JVTA ASSESSMENT fine in the amount of:                  $ ____________________
  ☐ The interest requirement on any of the criminal monetary penalties:
     ☐ was ordered on the amounts of more than $2,500.00.
     ☐ was modified by the Court as stated on the record.
     ☐ was waived/not ordered/not applicable.
  ☐ Restitution: ☐ was not ordered or not applicable; ☐ was paid in full prior to sentencing.
  ☐ A fine and/or other assessment: ☐ was not ordered or not applicable; ☐ was paid in full prior to sentencing.
  ☐ The determination of Restitution and/or a fine was deferred pending further proceedings or by further motion to the Court.
  ☐ The Order of Forfeiture dated ____________ was adopted as the Final Order of Forfeiture and will be included as part of the judgment.
  ☐ An Order of Forfeiture was executed and will be included as part of the judgment.
  ☐ All other conditions shall remain in effect as previously ordered by the Court on ____________.
  ☐ The defendant’s RIGHT TO APPEAL the Court’s sentence:
     ☐ was waived (pursuant to the Plea/Cooperation Agreement, or as stated on the record).
     ☐ is preserved. The defendant may file an appeal within fourteen (14) days of the date that the judgment is entered, not filed.
  ☐ All open counts in the outstanding charging instrument(s) were dismissed on the motion of the United States.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.
             Case 2:25-cr-00138-JS                   Document 11        Filed 04/25/25           Page 5 of 7 PageID #: 50
Criminal Proceeding Minute Entry (rev. 4/25 (elr))                                                                                   Page 5 of 7


IV. RULINGS MADE REGARDING DEFENDANT RELEASE STATUS:

☐
✔ ____________
  Bond         Hearing held.
  ☐ Defendant ____________ did not present a bond application to the Court.
     ☐ An Order of Detention was executed as to Defendant ____________.
     ☐ An Order Scheduling a Detention Hearing was executed as to Defendant ____________.
  ☐ The bond application/modification was GRANTED as to Defendant ____________.
     ☐ An Order Setting Conditions of Release and Bond was executed as to Defendant ____________.
     ☐ The conditions of release were modified as to Defendant ____________, as stated on the record.
     ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant ____________.
  ☐ The bond application/modification was DENIED as to Defendant ____________.
     ☐ An Order of Detention was executed as to Defendant ____________.
  ☐ The Government moved for immediate detention of Defendant ____________.
     ☐ The motion was ☐ GRANTED; ☐ DENIED; ☐ GRANTED, in part.
     ☐ An Arrest Warrant was executed as to Defendant ____________.
     ☐ An Order of Detention was executed as to Defendant ____________.
     ☐ The conditions of release were modified as to Defendant ____________, as stated on the record.
     ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant ____________.
  ☐ The decision regarding the bond or detention application was RESERVED.
     ☐ An Order Scheduling a Detention Hearing was executed as to Defendant ____________.
     ☐ A temporary Order Setting Conditions of Release and Bond was executed as to Defendant ____________.
  ☐
  ✔ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

For a defendant currently IN-CUSTODY:

☐ Defendant ____________ remain(s) in custody.

☐ The following orders were executed and shall be forwarded to the U.S. Marshals Service and/or the Federal Bureau of Prisons:
  ☐ A Medical Evaluation Order as to Defendant ____________.
  ☐ A Competency Order as to Defendant ____________.
  ☐ A Force Order as to Defendant ____________.

☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to sentencing/re-sentencing), shall be RELEASED, FORTHWITH.
  ☐ A Time Served Order was executed and submitted to the U.S. Marshals Service.
  ☐ The defendant will be under supervision of the U.S. Probation Department until the completion of the ordered term of Supervised Release.
  ☐ The defendant will not serve a term of Supervised Release.

For a defendant currently AT LIBERTY:

☐ Defendant ____________ remain(s) on bond.

☐ The defendant, being sentenced to a TERM OF IMPRISONMENT, shall be IMMEDIATELY REMANDED to the custody of the U.S.
  Marshals Service and/or the Federal Bureau of Prisons.

☐ The defendant, being sentenced to a TERM OF IMPRISONMENT, shall surrender for the service of the sentence before 2:00 PM on ____________
  at the institution designated by the Federal Bureau of Prisons. The defendant will REMAIN AT LIBERTY and under supervision of the Pretrial
  Services Department until the ordered surrender date.
  ☐ The U.S. Marshals Voluntary Surrender form was executed.
  ☐ Any motion to extend the surrender date must be made at least a thirty (30) days prior to the ordered surrender date.
  ☐ The defendant was advised that there will be no extensions of the surrender date.

☐ The defendant, being sentenced to a TERM OF PROBATION, will REMAIN AT LIBERTY and under supervision of the U.S. Probation
  Department until the completion of the ordered term of Probation.

☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to being released), shall REMAIN AT LIBERTY and under supervision
  of the U.S. Probation Department until the completion of the ordered term of Supervised Release.

☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to being released as well as time under supervision), SHALL BE
  RELEASED FROM ALL CONDITIONS OF SUPERVISION, FORTHWITH.
             Case 2:25-cr-00138-JS                   Document 11          Filed 04/25/25               Page 6 of 7 PageID #: 51
Criminal Proceeding Minute Entry (rev. 4/25 (elr))                                                                                     Page 6 of 7


V. FURTHER PROCEEDINGS SET:

☐ No further proceedings have been set at this time for Defendant ____________.

☐
✔ The following proceeding has been set for Defendant ____________:
                                                           1
  ☐
  ✔ __________________
     Status Conference     is set for _________
                                       8/5/2025 at _________
                                                   10:30 AM before ______________________________,
                                                                   Judge Joanna Seybert            _____________________________.
                                                                                                   in Courtroom 1030
     ☐ The Government’s sentencing memorandum is due by:         ____________
     ☐ The defendant’s sentencing memorandum is due by:          ____________
     ☐ Additional details regarding the proceeding set:




☐ The following proceeding has been set for Defendant ____________:
  ☐ __________________ is set for _________ at _________ before ______________________________, _____________________________.
     ☐ The Government’s sentencing memorandum is due by:         ____________
     ☐ The defendant’s sentencing memorandum is due by:          ____________
     ☐ Additional details regarding the proceeding set:




☐ The following proceeding has been set for Defendant ____________:
  ☐ __________________ is set for _________ at _________ before ______________________________, _____________________________.
     ☐ The Government’s sentencing memorandum is due by:         ____________
     ☐ The defendant’s sentencing memorandum is due by:          ____________
     ☐ Additional details regarding the proceeding set:




☐ The following proceeding has been set for Defendant ____________:
  ☐ __________________ is set for _________ at _________ before ______________________________, _____________________________.
     ☐ The Government’s sentencing memorandum is due by:         ____________
     ☐ The defendant’s sentencing memorandum is due by:          ____________
     ☐ Additional details regarding the proceeding set:




☐ The parties are directed to file their sentencing memoranda in accordance with the Court’s Individual Rules (see Rule VII(D)(2)).

☐ The Court ordered one or more of the proceedings above to be held telephonically. The parties are directed to initiate a conference call among
  themselves, then they are to call the Court’s Courtroom Deputy at the following number: 631-712-5615.

☐ The Court ordered one or more of the proceedings above to be held by video, via ZoomGov. The parties on the case will be sent a separate notice
  by the Court’s Courtroom Deputy with instructions on how to log into the video meeting as the scheduled date for the proceeding approaches.

☐ See Section VI and/or Section VII (page 7) for additional details regarding the proceeding(s) set.
             Case 2:25-cr-00138-JS                   Document 11           Filed 04/25/25            Page 7 of 7 PageID #: 52
Criminal Proceeding Minute Entry (rev. 4/25 (elr))                                                                                        Page 7 of 7


VI. OTHER RULINGS MADE DURING THE PROCEEDINGS:

☐ The record of this proceeding was ordered SEALED. Transcripts of this proceeding can be made available to the Court, the defendant(s), defense
  counsel, and the Government ONLY. Any other non-party must file a written request to the Court for permission to receive a copy of the transcripts.

☐
✔ The Court made the following rulings:
    - For the reasons stated on the record, the defendant's appearance was waived for this proceeding.

    - Defense counsel advised the Court that the suretor was advised of and acknowledged the conditions of the bond and voluntarily signed the bond
   in the presence of counsel and the Court's Courtroom Deputy.




VII. ADDITIONAL RULINGS:

☐ The Court makes the following additional rulings (not addressed during the proceedings):
